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                                      MEMO ENDORSED:
                                      The Government will respond to
                                      Defendant's application by August 17,
                                      2021.




                                         Dated: August 10, 2021
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